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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                          NORTHERN DIVISION

SOFIA E. GALVAN DE VALENZUELA                                            PLAINTIFF

v.                        Case No. 3:19-cv-00314-BSM

ANDREW SAUL, Commissioner
of Social Security Administration                                      DEFENDANT

                                    JUDGMENT

      Consistent with the order entered today, Valenzuela’s complaint is dismissed with

prejudice.

      IT IS SO ORDERED this 2nd day of November, 2020.


                                                UNITED STATES DISTRICT JUDGE
